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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 17-81261-CIV-DIMITROULEAS

    ALL-TAG CORP.,

           Plaintiff,

    v.

    CHECKPOINT SYSTEMS, INC.,

           Defendant.


                        ORDER GRANTING IN PART EXPEDITED MOTION
                          TO EXCEED PAGE LIMITATION ON BRIEFS

          THIS CAUSE came before the Court on Defendant, Checkpoint Systems, Inc.’s Expedited

   Motion to Exceed Page Limitation on Briefs (the “Motion”) [DE 215]. The Court has carefully

   considered the Motion and is otherwise fully advised in the premises.

          Defendant requests leave from the Court to file two motions for summary judgment and

   leave to file one of those as a 30-page motion with a 20-page statement of facts. See DE 215 p. 3.

   Pursuant to Local Rules 7.1 (c)(2) and 56.1(a), a motion for summary judgment shall not exceed

   20-pages with its statement of material facts not to exceed 10-pages. Further, “[f]iling multiple

   motions for partial summary judgment is prohibited absent prior permission of the Court.” See

   Local Rules 7.1(c)(2). The Court reads Defendant’s Motion as requesting permission to file a

   total of 50 pages for its motions for summary judgement, 30 pages for its statements of fact, and

   25 pages for its replies, with All-Tag being granted permission to file 50 pages in response. In

   addition, Defendant requests leave to file excess pages for its forthcoming Daubert motion with

   regard to Plaintiff’s expert, Dr. Graeme Hunter. See DE 215 p. 3. The Court further notes that

   Plaintiff opposes Defendant’s requests.
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          Accordingly, it is ORDERED AND ADJUDGED as follows:

          1.      The Motion [DE 215] is GRANTED in part;

          2.      Checkpoint is given leave to file up to 40 pages total to be divided, as it sees fit,

   between its motion for summary judgment on All-Tag’s claims against it as set forth in All-Tag’s

   Second Amended Complaint, and its motion for summary judgment on certain counts of

   Checkpoint’s Second Amended Counterclaim. In addition, Checkpoint is permitted to file up to

   20 pages total to be divided, as it sees fit, between its two statements of material fact. All-Tag is

   permitted to file up to 40 pages total to be divided, as it sees fit, between its responses to

   Checkpoint’s two motions for summary judgment. Finally, Checkpoint is permitted to file up to

   20 pages total to be divided, as it sees fit, between its two replies.

          3.      Checkpoint is further given leave to file a 25-page Daubert motion seeking to

   exclude the testimony of Dr. Graeme Hunter, with All-Tag being permitted to file up to a 25-page

   response to the Daubert motion, and Checkpoint being permitted to file a 10-page reply.

          DONE AND ORDERED in chambers, at Fort Lauderdale, Florida, this 30th day of

   September, 2019.




    Copies furnished to:
    All Counsel of Record




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